                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF ALASKA

FAMILY OUTREACH CENTER                    )
FOR UNDERSTANDING SPECIAL                 )
NEEDS, INC. dba FOCUS, INC.,              )
CRAIG ROSE and JENNIFER ROSE,             )
Individually, and on behalf of their      )
minor children, M.R. and K.R.,            )
                                          )       Case No. 3:13-cv-00174-JWS
                     Plaintiffs,          )
                                          )
v.                                        )
                                          )       ORDER OF DISMISSAL
WELLS FARGO INSURANCE                     )       WITH PREJUDICE
SERVICES USA, INC., DOE                   )
AGENTS 1-10, and DOE                      )
CORPORATIONS 11-20,                       )
                                          )
                     Defendants.          )
                                          )

              Based upon the stipulation of the parties, all of the claims asserted by

plaintiffs, Family Outreach Center for Understanding Special Needs, Inc. dba FOCUS,

Inc. and Craig Rose and Jennifer Rose, individually and on behalf of their minor children,

M.R. and K.R., against Wells Fargo Insurance Services USA, Inc., Doe Agents 1-10, and

Doe Corporations 11-20, are hereby dismissed in their entirety and with prejudice, each

side bearing its own costs and attorney’s fees.

       DATED this 6th day of March 2015.



                                            /s/ John W. Sedwick
                                          Senior United States District Judge



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